




Dismissed and Memorandum Opinion filed November 1, 2007








Dismissed
and Memorandum Opinion filed November 1, 2007.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00807-CV

____________

&nbsp;

INVESTMENT CORPORATION OF AMERICA, Appellant

&nbsp;

V.

&nbsp;

CLAUDIA SIMON, Appellee

&nbsp;



&nbsp;

On Appeal from the
190th District Court

Harris County,
Texas

Trial Court Cause
No. 2007-26831

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed September 4, 2007.&nbsp; On October 19, 2007,
appellant filed a motion to dismiss the appeal because the case has settled.&nbsp;&nbsp; See
Tex. R. App. P. 42.1.&nbsp; The motion
is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 1, 2007.

Panel consists of Chief Justice Hedges, Justice Yates and Frost.





